              Case 1:18-cv-03732-LJL-SDA
                Case                      Document
                      1:02-cv-08333-LJL Document 231213Filed
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HON. SYLVIA O. HINDS-RADIX                  L,q,w Dnp^q.RrMENT                                     NIark W, Nluschenhetm
Corporation Counsel                              lOO CHURCH STREET                                    Phone: 212-356-2186
                                                NEW YORK, NY IOOOT                           Email : mmuschen@law.nyc.gov




                                                      February 22,2024

       By ECF
       Hon. Lewis J. Liman
       Southern District of New York
       United States Courthouse
       500 Pearl Street
       New York, NY 10007

       Re      725 Eatery Corp. v. City of New York, 02 CV 4431 (LJL)
               59 Murray Corp. v. City of New York, 02 CV 4432 (LJL)
               Club at 60th Street,Inc. v. City of New York, 02 CV 8333 (LJL)
               ??6 T.T.C v Citv of Nerv York 1 R cv 3732 rT,JT,)

       Dear Judge Liman

               This office represents the defendants in these four actions. On behalf of all parties in
       these four actions, attached is fully executed stipulation that the parties respectfully request Your
       Honor to so order.

                The stipulation requests that the Your Honor direct the Clerk of the Court to promptly
       enter final judgment resolving these four actions. The stipulation also sets forth, among other
       items, deadlines by when the plaintiffs must file their notices of appeal and opening appellate
       briefs; provided that plaintiffs meet these deadlines, the defendants have agreed to stay
       enforcement of the adult use 2001 Amendments to the New York City Zoning Resolution
       pending a decision on appeal by the merits panel by the Court of Appeals for the Second Circuit.

               Thank you for your consideration.

                                                                   submitted,


                                                     Mark W. Muschenheim
                                                     Assistant Corporation Counsel

       Attachment
       cc: Counsel of Record (via ECF)
     Case 1:18-cv-03732-LJL-SDA
        Case                    Document231
             1:02-cv-08333-LJL Document  213-1  Filed
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LTNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


689 EATERY CORP., etc.,et ano.,
                                     Plaintiffs,

                - against -                             Civil ActionNo.
                                                        02 cv 4431 (LJL)
THE CITY OF NEW YORK, et al.,
                                     Defendants



59 MURRAY ENTERPRISES [NC., etc.,et al.,
                           Plaintiffs,

                - against -                             Civil ActionNo.
                                                        02 cv 4432 (LIL)
THE CITY OF NEW YORK, et al.,
                                     Defendants.


CLUB AT 6OTH STREET, [NC., EtC.,Ct AI.,
                                Plaintiffs,

                - against -                             Civil Action No.
                                                        02 cv 8333 (LJL)
THE CITY OF NEW YORK,
                                     Defendant.

336LLC., etc., et al.,
                                     Plaintiffs,

               - against -                              Civil ActionNo.
                                                        18 CV 3732(LIL)

THE CITY OF NEW YORK, et al.,
                                     Defendants




                              PROPOSED STIPULATION AND ORDER
        Case
           Case
             1:18-cv-03732-LJL-SDA
                1:02-cv-08333-LJL Document
                                   Document231
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                  WHEREAS, on February 9, 2024 the Honorable Lewis J. Liman, United States

District Judge, issued an Opinion and Order in the above-captioned actions finding in favor of

Defendants on each of Plaintiffs' claims, the effect of which was stayed for a period of fourteen days

for the parties to consider next steps;

                  NOW, THEREFORE,IT IS HEREBY STIPULATED AND AGREED, bY ANd

between the parties as follows:

           1.     The parties respectfully request that the Court direct the Clerk of the Court to promptly

enter final judgment resolving these actions.

           2.     No plaintiff shall seek a new trial, move for reconsideration, reargument, amendment,

or alteration of the final judgment or any prior order or finding of the Court, or seek any similar relief,

whether sought under Federal Rule of Civil Procedure 52, 59,60, Local Civil Rule 6.3, or any other

rule.

           3.     Plaintiffs shall file any notice of appeal within seven (7) calendar days of entry of the

final judgment.

           4.     Subject to the timely filing of a notice of appeal as provided in this Stipulation,

enforcement of Sections 12-10,32-0I,42-01, 52-77,72-40, and72-41of the Zoning Resolution as to

the appealing plaintiff(s) shall to be stayed pending a decision on appeal by a merits panel of the U.S.

Court of Appeals for the Second Circuit.

           5.     Any plaintiff who fails to file a notice of appeal by the deadline described in paragraph

3 shall not be entitled to the stay described in paragraph 4.

           6.     No plaintiff shall seek a stay pending appeal, a temporary restraining order pending

appeal, a preliminary injunction pending appeal, or any similar relief from the U.S. Court of Appeals

for the Second Circuit at any point prior to a decision on appeal by a merits panel of the Second

Circuit.
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           7.      Plaintiffs shall serve and file their opening brief(sFa maximum of two-within

    sixty (60) calendar days from the date the first notice of appeal was filed in this Court, absent a force

    majeure such as a natural disaster or unforeseeable events of similar magnitude.


           8.      If any plaintiff fails to file an opening brief by the deadline described in paragraph 7 ,

    the stay described in paragraph 4 shall be deemed vacated as to that plaintiff without further order of

    the Court, and upon defendants' request that plaintiff shall promptly execute a stipulation withdrawing

    the appeal with prejudice, with each party to bear its own costs and fees.


             9.       Without waiving the right to file a motion seeking an exemption from all or any

   portion of the Appendix requirements of Second Circuit Rule 3 . 1 , and unless any such motion is

    granted, the parties further agree to the filing of a deferred appendix on the appeal pursuant to

   F.R.App.Pr. 30(c).


   Respectfu lly submitted,




DATED: FebruaryJ, 2024                       By:
                                                     MARK W. MUSCHENHEIM
                                                     Assistant Corporation Counsel
                                                     HON. SYLVIA O. HINDS-RADIX
                                                     Corporation Counsel of the City of New York
                                                     Counsel for Defendants in All Actions
                                                     100 Church Street
                                                    New York, New York 10007
                                                    (212)3s6-2186




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                                               Counscl                itTs         Cir,443l (l,JI.)
                                               Stagnaro,      ba&                  Co., LPA
                                               7373 Becchilronl Avenue
                                               Cincirrnati, Ohio 45230
                                               (5t3).533-67r4

                                                                                              z/zr/z y
 DATED: Febnrary ,2024            Ilv:
                                               ED    ARD S.       U          FSD
                                               Ca'unsel lbr     int          in 02 Cir, 4432 (L.ll.)
                                               Zane and ltudofsky
                                               Fivc Arrortu'ood Lanc
                                               Melville. Nerv York 11747
                                               (9t7) 9t3-e6e7


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                                            C. R,6NDALL GARROU
                                            JEROMB H, MOONEY
                                            Counsel l'or l)laintilfs in 02 Civ 8333 (l..ll,)
                                            Weston (iarrou & N4oonel'
                                               l2l2 I Wilshire tslvd. Suite 525
                                            [,os Angclcs. Calilbrnitr 90025
                                            (3lo) 749-606e


DATED: f ebruaryt f, zOza        B),:       /s/ Erica T. Dubno
                                            ERICA T. DUBNO, ESQ.
                                            Counse I for Plaintiffs in l8 Cir, 3732 (L..ll..t
                                            Fahringer & Dubno
                                            43 West 43rd St #261
                                            Nerv York, Ncrv York 10036
                                            (212) 319-.53s r


      IT IS SO ORDIIRED.
     Date: February 22, 2024
     New York, New York


                                          tJrtited States Dislricl .ludgrr


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